      Case 19-01471-dd            Doc 27 Filed 07/20/20 Entered 07/20/20 12:17:01                             Desc Notice
                                       To File Claim (BNC) Page 1 of 1
                                                United States Bankruptcy Court
                                                   District of South Carolina



Case Number: 19−01471−dd                                           Chapter: 7

In re:
 Senior Ride Charleston
 fdba Senior Wheels, fdba ITNChalreston Trident, fdba Senior
 Ride Connection
                                                                                                          Filed By The Court
                                                NOTICE TO FILE PROOF OF                                       07/20/20
                                           CLAIM DUE TO RECOVERY OF ASSETS                                  Laura A. Austin
                                                                                                             Clerk of Court
                                                                                                          US Bankruptcy Court


NOTICE IS GIVEN THAT:

The initial notice in this case advised creditors that is was not necessary to file a proof of claim. However, since that notice was
sent, assets have been recovered by the trustee. Therefore, creditors who wish to share in any distribution of funds must file a
proof of claim with the clerk of the bankruptcy court within the timeframes outlined below:

         For all creditors (except a Governmental Unit):                             For a Governmental Unit:
           90 days after the mailing of this notice.                  180 days after the order for relief, or 90 days after the
                                                                            mailing of this notice, whichever is later.


Creditors who fail to file a proof of claim within the above timeframes may miss the opportunity to share in any distribution from
the debtor's estate.
A proof of claim form may be filed electronically through the court's electronic proof of claim system (ePOC) found on the court's
website at www.scb.uscourts.gov/epoc. A proof of claim form may also be filed by mailing a completed paper form to the
attention of the Claims Clerk at the United States Bankruptcy Court, 1100 Laurel Street, Columbia, SC 29201. There is no filing
fee for filing a proof of claim. Any creditor who has already filed a proof of claim need not file another proof of claim.



                                                                                Laura A. Austin
                                                                                Clerk of Court
                                                                                United States Bankruptcy Court

                                                                                By: K Weathers, Deputy Clerk
                                                                                1100 Laurel Street
                                                                                Columbia, SC 29201−2423
                                                                                (803) 765−5436
